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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN


                                                  NO. 19-13341
Priorities USA, Rise, Inc., and the
Detroit/Downriver Chapter of the A.
                                                  JUDGE STEPHANIE DAWKINS
Philip Randolph Institute,
                                                  DAVIS
              Plaintiffs,
                                                  MAGISTRATE JUDGE R.
 v.                                               STEVEN WHALEN
 Dana Nessel, in her official capacity as           PLAINTIFFS’ NOTICE OF
 Attorney General of the State of                      SUPPLEMENTAL
 Michigan,                                        AUTHORITY IN SUPPORT OF
                                                   PLAINTIFFS’ MOTION FOR
              Defendant.
                                                      PRELIMINARY AND
                                                   PERMANENT INJUNCTION




       On May 29, 2020, the Third Circuit upheld a district court’s order permanently

 enjoining the enforcement of a New Jersey law that restricted certain campaign

 contributions as violative of the fundamental speech and associational rights

 guaranteed by the First Amendment. Deon v. Barasch, 960 F.3d 152, 164 (3d Cir.

 2020). A copy of the opinion is provided here as supplemental authority in support

 of Plaintiffs’ pending motion. Dkt. 22.




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Dated: June 26, 2020                       Respectfully submitted,

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                          CERTIFICATE OF SERVICE

 I hereby certify that on June 26, 2020, I electronically filed the above document(s)

 with the Clerk of the Court using the ECF System, which will provide electronic

 copies to counsel of record.

                        LOCAL RULE CERTIFICATION

 I, Marc Elias, certify that this document and complies with Local Rule 5.1(a),

 including: double-spaced (except for quoted materials and footnotes); at least one-

 inch margins on the top, sides, and bottom; consecutive page numbering; and type

 size of all text and footnotes that is no smaller than 10-1/2 characters per inch (for

 non-proportional fonts) or 14 point (for proportional fonts).

                                        Respectfully submitted,

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